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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

SUNCIA LAWSON AND MINNIE REED            §                               CA NO.: 2:19-cv-10339
                                         §
VERSUS                                   §
                                         §
OAKWOOD SHOPPING CENTER, LLC; AND/OR §                      SECTION “__” - JUDGE ________
SHOE SHOW, INC. D/B/A SHOE DEPT. ENCORE, §
ABC INSURANCE COMPANY,                   §
SCHINDLER ELEVATOR CORPORATION,          §
AND DEF INSURANCE COMPANY                §                   DIV. __ – MAG. JUDGE ________


                                   NOTICE OF REMOVAL


       Schindler Elevator Corporation (“Schindler”), sought to be made a defendant in this

matter, who, on reserving all rights and defenses, including, but not limited to, all defenses

contained in Federal Rule of Civil Procedure 12, respectfully represents that it desires to remove

this matter to the United States District Court for the Eastern District of Louisiana, and that

removal on the grounds of diversity of citizenship is proper for the reasons explained below:

                                                1.

       On March 25, 2019, a civil action entitled “Suncia Lawson and Minnie Reed v. Oakwood

Shopping Center, LLC, et al.,” Case No. 793482, Division “G” was filed in the 24th Judicial

District Court for the Parish of Jefferson, State of Louisiana. (A copy of the Petition for

Damages is attached as Exhibit “A.”)

                                                2.

       Schindler first received a copy of the Petition for Damages on April 10, 2019.

                                                3.

       As of this date, no appearance has been made by Oakwood Shopping Center, LLC

(“Oakwood”) or Shoe Show, Inc. (“Shoe Show”).
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                                                   4.

         Thirty days have not expired since the receipt by Schindler, through service or otherwise,

of a copy of the initial filed pleadings setting forth the claim for relief upon which such action is

based.

                                                   5.

         Plaintiff Suncia Lawson asserts in the Petition that she is a person of the full age of

majority and resident of and domiciled in the Parish of Jefferson, State of Louisiana.

                                                   6.

         Plaintiff Minnie Reed asserts in the Petition that she is a person of the full age of majority

and resident of and domiciled in the Parish of Jefferson, State of Louisiana.

                                                   7.

         Schindler is a Delaware corporation with its principal place of business in New Jersey.

                                                   8.

         Oakwood is a Delaware corporation with its principal place of business in Illinois.

                                                   9.

         Shoe Show is a North Carolina corporation with its principal place of business in North

Carolina.

                                                  10.

         Based on the allegations contained in the pleadings, there is complete diversity of

citizenship.

                                                  11.

         The aforesaid Petition for Damages seeks recovery of damages for personal injuries

allegedly sustained by Plaintiffs, Suncia Lawson and Minnie Reed, in an alleged escalator


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incident on May 27, 2018, near Shoe Dept. Encore in Oakwood Shopping Center, 197 Westbank

Expressway, Gretna, Louisiana. The nature of this alleged incident is more fully stated in the

Petition for Damages.

                                                 12.

       Plaintiff Suncia Lawson specifically alleges that, as a result of the incident, she “suffered

personal and bodily injuries including, but not limited to, injuries to her neck, back, left shoulder,

right knee, and ankles. All of her damages are serious in nature and require continuing medical

care and treatment.”

                                                 13.

       Plaintiff Minnie Reed specifically alleges that, as a result of the incident, she “suffered

personal and bodily injuries including, but not limited to, injuries to her back, right knee, ankle,

and foot. All of her injuries are serious in nature and require continuing medical care and

treatment.”

                                                 14.

       Both Plaintiffs seek to be compensated for “past, present, and future mental pain and

suffering”; “past, present, and future physical pain and suffering”; “past, present, and future

medical expenses”; “loss of enjoyment of life”; “past, present, and future lost wages”; and “loss

of earning capacity.”

                                                 15.

       Based on these allegations as described by Plaintiffs, and while not admitting that

Plaintiffs sustained any injuries or damages in the alleged incident, it appears that the amount in

controversy exceeds the $75,000 jurisdictional amount of this court, exclusive of interest and

costs, and accordingly, there is original jurisdiction over the subject matter of this action in this


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Court, as provided in 28 U.S.C. §1332, and that said action may be removed by Defendants

pursuant to the provisions of 28 U.S.C. §1441.

                                                 16.

       Filed herewith are copies of all processes, pleadings, and Orders served on Schindler, all

as required by 28 U.S.C. § 1446(a). (Attached in globo as Exhibit “B.”)

                                                 17.

       Promptly upon filing this Notice of Removal, written notice thereof is being given to

Plaintiffs, and a copy of this Notice of Removal is being filed with the Clerk of the aforesaid

state court to effect the removal of this action as provided by law. (A copy of the Notice of

Filing of Notice of Removal is attached as Exhibit “C.”)

       WHEREFORE, Defendant Schindler Elevator Corporation prays that this Notice of

Removal be accepted as good and sufficient, and that the aforesaid civil action be removed from

the 24th Judicial District Court for the Parish of Jefferson, State of Louisiana, into this Court for

trial and determination as provided by law; that this Court may enter such orders and issue such

process as may be proper to bring before it copies of all records and proceedings in state court in

said civil action, and thereupon proceed with this civil action as if originally commenced in this

Court, and that all orders and decrees necessary or appropriate and in accordance with the law in

such cases be made and provided.




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THE AUBERT LAW FIRM


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ATTORNEYS FOR DEFENDANT
SCHINDLER ELEVATOR CORPORATION


                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Notice of Removal was electronically filed with the

Clerk of Court using the CM/ECF system. Notice of this filing will be sent to the following

counsel, by operation of the Court’s electronic filing system, this 10th day of May 2019:

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                                                     /s/ Christopher J. Aubert
                                                     CHRISTOPHER J. AUBERT


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